











NUMBER 13-06-557-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________


JOSEPH VARGAS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On appeal from the 290th District Court


of Bexar County, Texas.


____________________________________________________________


MEMORANDUM OPINION





Before Chief Justice Valdez and Justices Yañez and Garza


Memorandum Opinion Per Curiam






	Appellant, JOSEPH VARGAS, attempts to appeal a conviction for possession
of cocaine in an amount between 200-400 grams.  The trial court has certified that
this "is a plea-bargain case, and the defendant has NO right of appeal."  See Tex. R.
App. P. 25.2(a)(2).

	On October 9, 2006, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether
appellant has a right to appeal; and (3) forward to this Court, by letter, counsel's
findings as to whether appellant has a right to appeal, or, alternatively, advise this
Court as to the existence of any amended certification.

	On October 26, 2006, counsel filed a letter brief with this Court.  Counsel's
response does not establish (1) that the certification currently on file with this Court
is incorrect or (2) that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be
dismissed if the trial court's certification does not show that the defendant has the
right of appeal.  Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4.
Accordingly, this appeal is dismissed.  Any pending motions are denied as moot.


								PER CURIAM


Do not publish.  Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed this

the 21st  day of December, 2006.


